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                 EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                 Plaintiffs,            Case No. 1:20-cv-03010-APM

  v.                                                    HON. AMIT P. MEHTA

 Google LLC,

                                 Defendant.




 State of Colorado, et al.,

                                 Plaintiffs,            Case No. 1:20-cv-03715-APM

  v.                                                    HON. AMIT P. MEHTA

 Google LLC,

                                 Defendant.



    DEFENDANT GOOGLE LLC’S EXHIBITS OFFERED WITHOUT OBJECTION

        Defendant Google LLC offer the trial exhibits listed below for admission into evidence.

Plaintiffs have not lodged any objection to the exhibits listed below.

       DX0003             DX0289               DX0817            DX1025           DX1205
       DX0007             DX0294               DX0822            DX1026           DX1206
       DX0008             DX0295               DX0827            DX1027           DX1207
       DX0009             DX0296               DX0830            DX1028           DX1208
       DX0013             DX0297               DX0837            DX1029           DX1209
       DX0014             DX0308               DX0856            DX1030           DX1210
       DX0017             DX0310               DX0859            DX1031           DX1211
       DX0019             DX0313               DX0861            DX1032           DX1212
       DX0020             DX0315               DX0870            DX1033           DX1213
       DX0021             DX0320               DX0871            DX1100           DX1214
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DX0026        DX0330         DX0873         DX1101         DX1215
DX0027        DX0336         DX0879         DX1102         DX1216
DX0029        DX0338         DX0883         DX1103         DX1217
DX0032        DX0339         DX0917         DX1104         DX1218
DX0035        DX0346         DX0918         DX1105         DX1219
DX0036        DX0347         DX0919         DX1106         DX1220
DX0038        DX0349         DX0920         DX1107         DX1221
DX0040        DX0350         DX0921         DX1108         DX1222
DX0044        DX0354         DX0922         DX1109         DX1223
DX0047        DX0355         DX0923         DX1110         DX1224
DX0048        DX0356         DX0924         DX1111         DX1225
DX0054        DX0357         DX0925         DX1112         DX1226
DX0056        DX0358         DX0926         DX1113         DX1227
DX0057        DX0359         DX0927         DX1114         DX1228
DX0061        DX0364         DX0928         DX1115         DX1229
DX0063        DX0381         DX0929         DX1116         DX1230
DX0065        DX0382         DX0931         DX1117         DX1231
DX0071        DX0402         DX0932         DX1118         DX1232
DX0080        DX0404         DX0933         DX1119         DX1233
DX0084        DX0405         DX0934         DX1120         DX1234
DX0087        DX0407         DX0935         DX1121         DX1235
DX0090        DX0409         DX0936         DX1122         DX1236
DX0095        DX0411         DX0937         DX1123         DX1237
DX0096        DX0412         DX0938         DX1124         DX1238
DX0097        DX0413         DX0939         DX1125         DX1239
DX0099        DX0417         DX0940         DX1126         DX1240
DX0104        DX0429         DX0941         DX1127         DX1241
DX0105        DX0448         DX0942         DX1128         DX1242
DX0110        DX0460         DX0943         DX1129         DX1243
DX0112        DX0468         DX0944         DX1130         DX1244
DX0113        DX0491         DX0945         DX1131         DX1245
DX0116        DX0493         DX0946         DX1132         DX1246
DX0120        DX0509         DX0947         DX1133         DX1247
DX0123        DX0510         DX0948         DX1134         DX1248
DX0124        DX0511         DX0949         DX1135         DX1249
DX0125        DX0521         DX0950         DX1136         DX1250
DX0132        DX0522         DX0951         DX1137         DX1251
DX0134        DX0527         DX0952         DX1138         DX1252
DX0135        DX0528         DX0953         DX1139         DX1253


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DX0136        DX0533         DX0954         DX1140         DX1254
DX0137        DX0549         DX0955         DX1141         DX1255
DX0141        DX0550         DX0956         DX1142         DX1256
DX0146        DX0552         DX0957         DX1143         DX1257
DX0151        DX0555         DX0958         DX1144         DX1258
DX0152        DX0563         DX0959         DX1145         DX1259
DX0153        DX0564         DX0960         DX1146         DX1260
DX0168        DX0565         DX0962         DX1147         DX1261
DX0172        DX0566         DX0963         DX1148         DX1262
DX0183        DX0576         DX0964         DX1149         DX1263
DX0185        DX0577         DX0965         DX1150         DX1264
DX0193        DX0578         DX0966         DX1151         DX1265
DX0201        DX0579         DX0967         DX1152         DX1266
DX0204        DX0580         DX0968         DX1153         DX1267
DX0205        DX0581         DX0969         DX1154         DX1268
DX0207        DX0582         DX0970         DX1155         DX1269
DX0208        DX0583         DX0971         DX1156         DX1270
DX0213        DX0584         DX0972         DX1157         DX1271
DX0214        DX0585         DX0973         DX1158         DX1272
DX0215        DX0586         DX0974         DX1159         DX1273
DX0222        DX0588         DX0975         DX1160         DX1274
DX0223        DX0589         DX0979         DX1161         DX1275
DX0224        DX0590         DX0980         DX1162         DX1276
DX0226        DX0591         DX0981         DX1163         DX1277
DX0227        DX0592         DX0982         DX1164         DX1278
DX0229        DX0593         DX0983         DX1165         DX1280
DX0237        DX0595         DX0984         DX1166         DX1281
DX0238        DX0596         DX0985         DX1167         DX1282
DX0242        DX0597         DX0986         DX1168         DX1284
DX0243        DX0598         DX0987         DX1169         DX1285
DX0249        DX0599         DX0988         DX1170         DX1286
DX0250        DX0601         DX0989         DX1171         DX1287
DX0251        DX0603         DX0990         DX1172         DX1288
DX0252        DX0604         DX0991         DX1173         DX1290
DX0253        DX0606         DX0992         DX1174         DX1291
DX0254        DX0611         DX0993         DX1175         DX1292
DX0255        DX0612         DX0994         DX1176         DX1293
DX0256        DX0615         DX0995         DX1177         DX1294
DX0257        DX0616         DX0996         DX1178         DX1295


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DX0259        DX0622         DX0997         DX1179         DX1296
DX0260        DX0642         DX0999         DX1180         DX1297
DX0261        DX0643         DX1000         DX1181         DX1298
DX0262        DX0652         DX1001         DX1182         DX1299
DX0263        DX0653         DX1002         DX1183         DX1300
DX0264        DX0655         DX1003         DX1184         DX1301
DX0265        DX0665         DX1004         DX1185         DX1302
DX0266        DX0666         DX1005         DX1186         DX1303
DX0267        DX0692         DX1006         DX1187         DX1304
DX0268        DX0702         DX1007         DX1188         DX1305
DX0270        DX0703         DX1008         DX1189         DX1306
DX0271        DX0707         DX1009         DX1190         DX1307
DX0272        DX0708         DX1010         DX1191         DX1308
DX0273        DX0709         DX1011         DX1192         DX1309
DX0274        DX0710         DX1012         DX1193         DX1310
DX0275        DX0711         DX1013         DX1194         DX1311
DX0276        DX0712         DX1014         DX1195         DX1312
DX0277        DX0713         DX1015         DX1196         DX1313
DX0278        DX0720         DX1016         DX1197         DX1314
DX0279        DX0722         DX1017         DX1198         DX1315
DX0280        DX0731         DX1018         DX1199         DX1316
DX0281        DX0801         DX1019         DX1200         DX1317
DX0282        DX0804         DX1020         DX1201         DX1318
DX0284        DX0806         DX1021         DX1202         DX1319
DX0285        DX0807         DX1022         DX1203         DX1320
DX0287        DX0809         DX1023         DX1204         DX1321




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Dated: September 18, 2023            Respectfully submitted,

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